Case: 1:20-cr-00115-DCN Doc #: 22 Filed: 05/05/20 1 of 1=

IN THE UNITED STATES DISTRICT COURT 8 pe 3
FOR THE NORTHERN DISTRICT OF OHIO “>.> 3

UNITED STATES OF AMERICA,

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CASE NO. 1:20-cr-00115 "S$ 3 i

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JUDGE DONALD NUGENT & o>
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Plaintiff,
-VS-

RUSSELL WHISENANT,

Defendant.

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YDGE

V/

U.S. DISTRICT J

 

DEFENDANT’S MOTION TO
REOPEN DETENTION PROCEEDINGS
AND PERMIT TEMPORARY

 

 

 

RELEASE

Now comes Russell Whisenant, through counsel, and respectfully requests this Court

reopen detention proceedings and order his release on bond as a temporary release, pursuant to

18 U.S.C. § 3142(f)(2) and § 3142(i)(4). The current COVID-19 pandemic presents “‘a change of

circumstances” why Mr. Whisenant’s detention is no longer appropriate and Mr. Whisenant

poses no risk of flight or danger to the community.

I. Procedural History

Mr. Whisenent was arrested in connection with the instant case on or about December 11,

2019. A complaint was filed in federal court on December 10, 2019. Dkt. 1. On December 17,

2019, Mr. Whisenant waived his right to a detention hearing, while reserving the right to “revisit

the issue of detention at a later date should circumstances change.” Dkt. 4. An indictment was

returned was February 12, 2020. Dkt. 12. Since then, the case has remained pending as the

government has provided discovery and the parties have made attempts to resolve the case. Mr.

Whisenant has remained in pretrial detention since December 11, 2019.

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